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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION

 Frankenmuth Mutual Insurance Company,
 a Michigan Corporation,

        Plaintiff,
                                                         Case No.: 5:22-cv-5079
 v.

 Firefly Builders, Inc., and Wayne
 Koistinen, Roseanne Koistinen, and Larry
 Koistinen,

        Defendants.


                 FRANKENMUTH MUTUAL INSURANCE COMPANY’S
                          INDEMNITY COMPLAINT

       Now comes Plaintiff, Frankenmuth Mutual Insurance Company (“Frankenmuth”), by and

through its undersigned counsel, for its Indemnity Complaint (“Complaint”) against Defendants,

Firefly Builders, Inc. and Wayne Koistinen, Roseanne Koistinen, and Larry Koistinen (hereinafter

referred to as “Defendants” or “Indemnitors”), alleges as follows:

                                               PARTIES

       1.      Frankenmuth is an insurance company incorporated in the State of Michigan with

its principal place of business in Michigan.

       2.      Upon information and belief, Defendant, Firefly Builders, Inc. (“Firefly”) is an

South Dakota corporation with its principal place of business at 1 North 5th Avenue, in Belle

Fourche, South Dakota and can be served care of its registered agent, Wayne Koistinen, located at

10915 Summercreek Lane, Belle Fourche, South Dakota. Individual Indemnitors, Wayne

Koistinen, Roseanne Koistinen, and Larry Koistinen are residents of South Dakota with the same

listed address of 10915 Summercreek Lane, Belle Fourche, South Dakota.

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                                  JURISDICTION AND VENUE

        3.      This court has jurisdiction over this cause under 28 U.S.C. § 1332(a)(1) in that the

matter in controversy, exclusive of interest and costs, exceeds the sum or value of $75,000, and is

between citizens of different states.

        4.      Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to the claim occurred in this district and the majority of the

Defendants reside in this district.

                              FACTS COMMON TO ALL COUNTS

        5.      Frankenmuth is in the business of, among other things, providing surety bonds to

contractors in connection with construction projects throughout the United States.

        6.      Firefly is in the business of, among other things, performing construction services

for construction projects in the United States.

I. THE INDEMNITY AGREEMENT EXECUTED BY THE INDEMNITORS

        7.      In reliance upon the Indemnitors’ financial representations in exchange for the

Indemnitors executing an indemnity agreement, Frankenmuth extended $855,450.00 of surety

credit to Firefly.

        8.      On or about October 11, 2021, Firefly, through its representatives, Wayne

Koistinen, Larry Koistinen, and Roseanne Koistinen executed a General Agreement of Indemnity

(the “Indemnity Agreement’) in favor of, among others, Frankenmuth. A true and correct redacted

copy of the Indemnity Agreement is attached hereto as Exhibit 1 and is incorporated herein by

reference as if set forth fully herein.

        9.      As set forth in the Indemnity Agreement, an “Indemnitor” is defined as, among

other things, “Undersigned, and all new indemnitors added to this Agreement by rider, their



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present and future direct and indirect subsidiaries; affiliates, and parent companies, and all of their

successors and assigns, and any joint venture, co-venture, consortium, partnership, trust,

association, limited liability company or other legal entity in which one or more of them hold any

ownership interest whether in existence now or formed or acquired hereafter, and any entity that

obtains bonds from Company at the request of any of the aforementioned parties, or any

combination of the above. ” See Exhibit 1 at pp. 1.

        10.    On or about October 11, 2021, Firefly, through the signature of its President, Wayne

Koistinen, and Larry Koistinen, Roseanne Koistinen, and Wayne Koistinen each individually and

through their own signatures, executed the Indemnity Agreement. See Exhibit 1 at Signatures, pp.

8.

        11.    Therefore, pursuant to the terms of the Indemnity Agreement, the Indemnitors as

set forth in the Indemnity Agreement include Firefly See generally, Exhibit 1.

        12.    The Indemnity Agreement defines “Company” as “Frankenmuth Mutual Insurance

Company, Patriot Insurance Company, any of their present or future direct or indirect parent

companies, any of the respective parent or future direct or indirect affiliates or subsidiaries of such

companies and parent companies, and any/or any of the aforementioned entities’ successors or

assigns. For purposes of this definition the term affiliate includes any entity that controls, is

controlled by, or is under common control with Frankenmuth Mutual Insurance Company, Patriot

Insurance Company, or any of their parent or subsidiary companies, whether control is due to

ownership of voting interest, economic interests or other management or governance contract or

arrangement that results in any such entities exercising control over the affairs of such entity.” See

Exhibit 1 at pp. 1.

        13.    The term “Bond” is defined in the Indemnity Agreement as meaning:



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       Any and all bonds, undertakings, guarantees, contractual obligations, and
       writings or statements of prequalification or commitment, including
       Modifications thereof, which Company has executed or procured, or for which
       Company has an obligation as a result of an asset purchase, acquisition, merger
       or like transaction issued for or on behalf of: (a) any one or more of the
       Indemnitors (without regard to whether any such Indemnitor signed this
       Agreement), their respective present or future direct or indirect parent
       companies, subsidiaries and affiliates and all of their respective successors and
       assigns; (b) any present or future joint venture, co-venture, consortium,
       partnership, trust, association, limited liability company or other legal entity in
       which one or more of the persons or entities identified in sub-paragraph (a)
       above have an interest; (c) any other person or entity at the request of any of the
       Indemnitors; or (d) any combination of the above, whether executed or
       procured before, on, or after the execution of this Agreement. For the purpose
       of this definition the term "Modifications" shall include but not be limited to
       renewals, substitutions, riders, endorsements, reinstatements, replacements,
       substitutions, increases or decreases in penal sum, continuations and extensions.


See Exhibit 1 at pp. 1.

       14.     Further, the Indemnity Agreement defines the term “Loss” as used therein as

meaning:

       All loss, costs and expense of any kind or nature, including attorneys' and other
       fees or costs, which Company incurs in connection with any Bond, Contract or
       this Agreement, including but not limited to all loss, cost and expense incurred
       by reason of: (a) the underwriting or issuance of any Bond, (b) making any
       investigation in connection with any Bond; (c) any claim, which means any
       notice, claim, demand, defense, counterclaim, setoff, lawsuit or proceeding or
       circumstance which may constitute, lead to or result in Loss, liability, or asserted
       liability in connection with any Bond or this Agreement, (d) any Indemnitor
       failing to timely and completely perform under or comply with this Agreement,
       (e) Company enforcing this Agreement (f) Company prosecuting or defending
       any action in connection with any Bond; (g) obtaining the release of any Bond;
       (h) Company recovering or attempting to recover Property in connection with
       any Bond or this Agreement (i) Company enforcing by litigation or otherwise
       any of the provisions of this Agreement, (j) any act of Company to protect or
       procure any of Company's rights, protect or preserve any of the Company's
       interests, or to avoid or lessen Company's liability or alleged liability, and (k)
       all interest accruing on any such amounts at the maximum legal rate .
       Indemnitors' liability to Company includes all Loss, all payments made, and all
       actions taken by Company under the Good Faith belief that Company is, would
       be or was liable for the Loss, the amounts paid, or the actions taken or that it
       was necessary or expedient to incur such Loss, make such payments or take such

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       actions, whether or not such liability, necessity or expediency existed. Good
       Faith means, with respect to any act, exercise of discretion or omission by
       Company, an absence of dishonesty, evil intent and actual malice toward
       Indemnitors. An itemized statement of Loss, sworn to by any officer of
       Company, or vouchers, affidavits, or other evidence of payment by Company,
       shall be prima facie evidence of Indemnitors' liability for such Loss.


See Exhibit 1 at pp. 2.

       15.     The Indemnity Agreement provides that the Indemnitors, jointly and severally,

agree to exonerate, indemnify, and save Frankenmuth harmless from any and all costs and

expenses incurred by reason of having issued any bonds, as surety, on behalf of the Indemnitors

and enforcing the terms of the Indemnity Agreement. In relevant part, the Indemnity Agreement

states the following:

               Indemnification and Hold Harmless: Indemnitors shall exonerate,
               indemnify, and save Company harmless from and against all Loss. An
               itemized, sworn statement by an employee of company, or other evidence
               of payment, shall me prima facie evidence of the propriety, amount and
               existence of Indemnitor’s liability. Amounts due to Company shall me
               payable upon demand.

See Exhibit 1 at pp. 3 Indemnification and Hold Harmless.

       16.     As such, pursuant to the Indemnity Agreement, the Indemnitors agreed to exonerate

and indemnify Frankenmuth, and hold Frankenmuth harmless from and against any and all liability,

loss, and expense, including, among other things, any and all such expenses relating to any claims,

liabilities, demands for payment, including legal and consultant fees and expenses as well as

interest, which Frankenmuth may pay or incur by reason of having executed any bond at the

request of the Indemnitors. See Exhibit 1 at pp. 3 Indemnification and Hold Harmless.

       17.      The Indemnitors also agreed that Frankenmuth is to be “entitled to immediate

reimbursement for any and all Loss incurred by it . . ..” See Exhibit 1 at pp. 4, Remedies.




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       18.      The Indemnitors further agreed to the following language in the Indemnity

Agreement:

             Collateral Security: Indemnitors agree to deposit with Company, upon
             demand, funds, other collateral security acceptable to Company, in an
             amount as determined by Company sufficient to discharge any Loss or
             anticipated Loss. Indemnitors further agree to deposit with Company, upon
             demand, an amount equal to the value of any assets or Contract funds
             improperly diverted by any Indemnitor. Sums deposited with Company
             pursuant to this paragraph may be used by Company to pay such claim or
             be held by Company as collateral security against any Loss or unpaid
             premium on any Bond. Company shall have no duty to invest or provide
             interest on the collateral. Indemnitors agree that Company would suffer
             irreparable damage and would not have an adequate remedy at law if
             Indemnitors fail to comply with the provisions of this paragraph. Any
             remaining funds held by Company after payment of all sums due to
             Company under this Agreement shall be returned upon the complete release
             and/or discharge of Company's liability under all Bonds. In addition to the
             foregoing, Indemnitors shall promptly, on Company's written demand,
             procure the full and complete discharge of Company from all Bonds
             demanded by Company and all liability in connection with such Bonds. If
             Indemnitors are unable to obtain such discharge within the time demanded,
             Indemnitors shall promptly deposit with Company an amount of money that
             Company determines is sufficient to collateralize or pay any outstanding
             bonded obligations, or otherwise make provisions acceptable to Company
             for the funding of the bonded obligations.


See Exhibit 1 at pp. 2, Collateral Security.

       19.      Accordingly, the Indemnitors were to deposit, immediately upon demand, a sum of

money at Frankenmuth’s discretion to protect Frankenmuth from actual or anticipated loss on

account of having issued bonds on behalf of the Indemnitors. See Exhibit 1 at pp. 2, Collateral

Security.

       20.      As part of the collateral security provision of the Indemnity Agreement, the

Indemnitors acknowledged and agreed “that their failure to immediately deposit with Surety any

sums demanded under this section shall cause irreparable harm to Surety for which it has no

adequate remedy at law. Indemnitors agree and shall stipulate in any legal proceedings that Surety

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is entitled to injunctive relief for specific performance of said collateral deposit obligation and do

hereby expressly waive and relinquish any claims or defenses to the contrary.” Exhibit 1 at pp.3,

Collateral Security (emphasis added).

       21.     The Indemnity Agreement further provides the following paragraph setting forth

Frankenmuth’s right to information from the Indemnitors pertaining to the financial affairs or

operations of the Indemnitors:

               Books, Records and Credit: Indemnitors shall furnish upon demand, and
               Company shall have the right of free access to, at reasonable times, the
               records of Indemnitors including, but not limited to, books, papers, records,
               documents, contracts, reports, financial information, accounts and
               electronically stored information, for the purpose of examining and copying
               them. Indemnitors expressly authorize Company to access their credit
               records, including, but not limited to, account numbers and/or account
               balances from financial institutions. To the extent required by law,
               Indemnitors, upon request, shall be informed whether or not a consumer
               report has been requested by Company, and if so, of the name and address
               of the consumer reporting agency furnishing the report.


See Exhibit 1 at pp. 4, Books, Records & Credit Reports.

II. THE BONDS AND BOND CLAIMS

       22.     At the request of Firefly, Frankenmuth, in reliance upon the Indemnity Agreement

and assets of the Indemnitors, provided surety credit in the form of payment and performance

bonds on behalf of Firefly, as principal, and in favor of various public bodies, as obligees. The

Bonds secured the obligations of Firefly to perform construction work required by contracts with

the public bodies and to pay for labor and materials required for the completion of these contracts.

       23.     Specifically, Frankenmuth issued the following bonds on behalf of Firefly and in

favor of the obligees identified below:




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 Performance &         Bond             Principal       Obligee(s)       Project     Bond
 Payment               Type(s)                                           Name        Amount
 Bond Number
 SUR0003569            Performance      Firefly         U.S.    Army  Thomaston $223,850.00
                       Bond             Builders,       Corps      of Garage
                                        Inc.            Engineers     Bond
 SUR0003569            Payment          Firefly         Army Corps of Thomaston $223,850.00
                       Bond             Builders,       Engineers     Garage
                                        Inc.                          Bond
 SUR0003570            Payment          Firefly         United States East   Ash $87,450.00
                       Bond             Builders,       Government    Bond
                                        Inc.            Nebraska
                                                        National
                                                        Forest
 SUR0003571            Payment          Firefly         Army Corps of Mosquito   $58,570.00
                       Bond             Builders,       Engineers     Creek Bond
                                        Inc.
 SUR0003572            Payment          Firefly         U.S. Fish and    Wind River $124,990.00
                       Bond             Builders,       Wildlife         Bond
                                        Inc.            Service
 SUR0003573            Payment          Firefly         United States    Stone Lakes $48,520.00
                       Bond             Builders,       Government       Bond
                                        Inc.
 SUR0003578            Payment          Firefly         United States National   $88,220.00
                       Bond             Builders,       Government    Elk NWR
                                        Inc.                          Kiosk Bond

                             TOTAL PENAL SUM OF ALL ISSUED BONDS: $855,450.00


The above Performance and Payment Bond Numbers shall be hereinafter referred to collectively,

as the “Bonds.” The Bonds’ corresponding project names, shall be hereinafter referred to

collectively, as the “Projects.”

        24.     On or about May 26, 2022, Frankenmuth began receiving claims on the Bonds

relating to the Projects asserting that Firefly failed to perform its obligations.

        25.     Regarding the Projects and their respective Bonds, Frankenmuth has received, as

of the time of this filing, two payment bond claims from the Mosquito Creek Lake Project, one




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payment bond claim on the East Ash Project, one payment bond claim on the Wind River project

and one performance bond claim on the Thomaston Dam project.

       26.     Frankenmuth has a reasonable basis to believe it will receive additional payment

bond claims on several if not all of the Bonds from Firefly’s vendors on the Project.

       27.     As of September 6, 2022, Frankenmuth estimates a total potential net exposure

under the Bonds of $905,450.00, the total penal sum of all bonds ($855,450.00) plus anticipated

attorneys fees and expenses ($50,000.00).

III. INDEMNITORS’ BREACH OF INDEMNITY AGREEMENT

       28.     On or about May 26, 2022, and then again on July 21, 2022, Frankenmuth sent a

written correspondence to the Indemnitors (a) regarding the pending claims and request for

indemnity and (b) requesting collateral to be posted on or before July 28, 2022 (the “Demand

Letters”). A true and correct copy of Frankenmuth’s Demand Letters are attached hereto as Group

Exhibit 2.

       29.     The Demand Letters were sent to each of the Indemnitors via first class mail to each

of the Indemnitors’ last known addresses. Id.

       30.     In the Demand Letters, Frankenmuth further requested an inspection of the

Indemnitors’ books and records that would be sufficient for Frankenmuth to ascertain the

Indemnitors’ current financial information including, but not limited to, access to Indemnitors’

accounts payable, accounts receivable, profit and loss and income statements, tax returns, and bank

statements. See Group Exhibit 2, at pp. 3.

       31.     As of September 8, 2022, the Indemnitors have failed and/or refused to provide any

collateral security to cover part of the liability asserted against Frankenmuth relating to the Bonds

as requested by Frankenmuth in the Demand Letters.



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        32.       As of September 8, 2022, the Indemnitors have failed and/or refused to provide the

financial books and records requested by Frankenmuth in the Demand Letters.

        33.       As a result of the Indemnitors’ failure to post collateral as requested by

Frankenmuth in the Demand Letters, Frankenmuth is being forced to incur uncollateralized losses

and has no security to protect itself if the Indemnitors fail to indemnify Frankenmuth from its

losses and/or from the Indemnitors potentially dissipating or transferring assets to avoid their

obligations to indemnify, exonerate, and hold Frankenmuth harmless under the Indemnity

Agreement.

        34.        As a result of the Indemnitors’ failure to post collateral as requested by

Frankenmuth in the Demand Letters, Frankenmuth is at risk of being an unsecured creditor of the

Indemnitors in contravention of the Indemnity Agreement.

        35.       As a result of the Indemnitors’ failure to comply with Frankenmuth’s requests in

the Demand Letters for complete access to financial books and records, Frankenmuth has no way

of determining whether the Indemnitors have the necessary assets and/or funds to sufficiently hold

Frankenmuth harmless on account of claims on the Bonds and/or losses arising therefrom.

        36.       As a result of the Indemnitors’ failure to comply with Frankenmuth’s request in the

Demand Letters for complete access to financial books and records, Frankenmuth has no way of

determining whether Firefly and the other Indemnitors have improperly dissipated assets in

contravention of the Indemnity Agreement to avoid their obligations to indemnify, exonerate, and

hold Frankenmuth harmless.

        37.       Frankenmuth has discharged its obligations under the Bonds, has acted in

conformity with the Indemnity Agreement, and has satisfied all conditions precedent to recovery

in this action.



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                                           COUNT I
                                       Breach of Contract

       38.     Frankenmuth adopts, realleges, and incorporates by reference its allegations set

forth in paragraphs 1 through 37 of its Complaint, as though fully set forth herein this paragraph.

       39.     The Defendants are obligated to (a) indemnify Frankenmuth to and from all losses

in connection with the Bonds and the costs and expenses incurred by Frankenmuth in enforcing

the terms of the Indemnity Agreement, (b) to post collateral to cover Frankenmuth’s demand, and

(c) allow Frankenmuth free access to inspect Indemnitors’ books and records.

       40.     Pursuant to the Indemnity Agreement, the Defendants agreed to, among other

things, pay Frankenmuth, immediately upon demand, all loss, interest, costs, and expenses

incurred by Frankenmuth by reason of having executed any bonds on behalf of the Indemnitors,

or incurred by Frankenmuth on account of any default under the Indemnity Agreement by any of

the Indemnitors. See Exhibit 1 at pp. 3, Indemnification and Hold Harmless.

       41.     Pursuant to the Indemnity Agreement, the Defendants agreed to, among other

things, deposit with Frankenmuth, immediately upon demand, collateral security in an amount

Frankenmuth deems necessary to protect Frankenmuth from actual or anticipated loss by reason

of having executed any bonds on behalf of the Indemnitors. See Exhibit 1 at pp. 3, Collateral

Security.

       42.     Pursuant to the Indemnity Agreement, the Defendants agreed to, among other

things, provide Frankenmuth free access to inspect the Indemnitors’ books and records. See

Exhibit 1 at pp. 5, Books, Records & Credit Reports.

       43.     Despite Frankenmuth’s Demand Letters, the Defendants have breached the

Indemnity Agreement between the parties by failing and refusing to indemnify and hold

Frankenmuth harmless from claims on the Bonds, failing to post collateral in the amount of


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Frankenmuth’s anticipated loss, and failing to allow Frankenmuth free access to the Indemnitors’

books and records.

       44.         Frankenmuth has been damaged by the Defendants’ material breach of the

Indemnity Agreement in the initial amount of $905,450.00 which represents Frankenmuth’s

estimated loss under the Bonds.

                                       PRAYER FOR RELIEF

       WHEREFORE, Frankenmuth Mutual Insurance Company prays this Honorable Court:

             (a)      Enter Judgment against the Defendants, in the amount of Frankenmuth’s actual
                      costs and estimated loss to date, plus all costs and expenses, including attorneys’
                      fees and interest, in the amount that Frankenmuth has incurred;

             (b)      Order the Defendants to indemnify and exonerate Frankenmuth for all liabilities,
                      losses, and expenses incurred by Frankenmuth as a result of Frankenmuth
                      having executed the Bonds;

             (c)      Order the Defendants to pay Frankenmuth’s costs, including reasonable
                      attorneys’ and consulting fees incurred herein; and

             (d)      Grant such additional relief as this Court deems appropriate.

                                             COUNT II
                                     Exoneration and Quia Timet

       45.         Frankenmuth adopts, realleges, and incorporates by reference its allegations set

forth in paragraphs 1 through 44 of its Complaint, as though fully set forth herein this paragraph

       46.         Frankenmuth has demanded the Defendants indemnify and hold it harmless from

the claims asserted on the Bonds and post collateral. The collateral Frankenmuth is Frankenmuth’s

anticipated loss.

       47.         The Indemnitors owe Frankenmuth the duty of exoneration, requiring them to

perform their obligations before Frankenmuth is called upon to perform its obligations under the

Bonds. Additionally, the Indemnity Agreement requires the Indemnitors, to place funds or other



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security with Frankenmuth immediately upon demand that are, among other things, sufficient to

cover Frankenmuth’s anticipated loss. See Exhibit 1; Group Exhibit 2.

       48.         Frankenmuth is entitled to a remedy known as quia timet. This remedy secures a

surety from loss when it appears that the principal is reasonably likely to fail or refuse to perform

or to protect the surety from loss.

       49.         The Defendants have failed and refused to meet their obligations under the

Indemnity Agreement by failing to indemnify Frankenmuth from the pending claims on the Bonds

and by failing to post or deposit with Frankenmuth collateral in any amount.

       50.         Frankenmuth is entitled to be reimbursed for the attorneys fees it has currently paid

and to be fully collateralized by the Defendants for the collateral it has requested in order to

discharge its obligations under the Bonds.

       51.         Frankenmuth lacks an adequate remedy at law to secure its right of exoneration

from the Indemnitors and is without a plain, speedy remedy at law and will be irreparably and

permanently injured unless this Court grants the equitable relief requested herein.

                                        PRAYER FOR RELIEF

       WHEREFORE, Frankenmuth Mutual Insurance Company prays this Honorable Court:

             (a)      Order the Defendants to indemnify and exonerate Frankenmuth for all liabilities,
                      losses, and expenses incurred by Frankenmuth as a result of Frankenmuth
                      having executed the Bonds;

             (b)      Order the Defendants to pay Frankenmuth’s costs, including reasonable
                      attorneys’ and consulting fees incurred herein; and

             (c)      Grant such additional relief as this Court deems appropriate.

                                             COUNT III
                            Specific Performance of Indemnity Agreement




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       52.         Frankenmuth adopts, realleges, and incorporates by reference its allegations set

forth in paragraphs 1 through 51 of its Complaint, as though fully set forth herein this paragraph

       53.         Frankenmuth has demanded that the Defendants indemnify and hold Frankenmuth

harmless from any and all costs resulting from the Bonds issued for the Projects.

       54.         Frankenmuth has requested the Defendants post collateral for the use in discharging

Frankenmuth’s obligations under the Bonds.

       55.         The Defendants have failed to indemnify Frankenmuth, have not posted or

deposited collateral with Frankenmuth, and have not provided Frankenmuth free access to the

Indemnitors’ books and records.

       56.         Frankenmuth lacks an adequate remedy at law and will suffer irreparable harm if

the relief sought is not granted.

                                       PRAYER FOR RELIEF

       WHEREFORE, Frankenmuth Mutual Insurance Company prays this Honorable Court:

             (a)      Order the Defendants to indemnify and exonerate Frankenmuth for all liabilities,
                      losses, and expenses incurred by Frankenmuth as a result of Frankenmuth
                      having executed the Bonds;

             (b)      Order the Defendants to pay Frankenmuth’s costs, including reasonable
                      attorneys’ and consulting fees incurred herein;

             (c)      Order the Defendants to provide Frankenmuth access to inspect the Indemnitors’
                      books and records; and

             (d)      Grant such additional relief as this Court deems appropriate.

                                              COUNT IV
                                        Preliminary Injunction

       57.         Frankenmuth adopts, realleges, and incorporates by reference its allegations set

forth in paragraphs 1 through 56 of its Complaint, as though fully set forth herein this paragraph.




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       58.     By the express provisions of the Indemnity Agreement and by virtue of the

equitable doctrines of exoneration and quia timet, Frankenmuth is entitled to have the Defendants

place funds or other security with it immediately upon demand that are, among other things,

sufficient to cover Frankenmuth’s anticipated loss.

       59.     Unless preliminary injunctive relief is granted, Frankenmuth will not be adequately

secured for its obligations prior to resolving the pending claims under the Bonds or incurring

further expenses under the Bonds. Further, unless preliminary injunctive relief is granted, the

Defendants are likely to sell, transfer, dispose, lien, secrete, or otherwise divert their assets from

being used to discharge the Defendants’ obligations to exonerate and indemnify Frankenmuth, all

to Frankenmuth’s irreparable harm.

       60.     The Indemnitors agreed to post collateral with Frankenmuth and the Indemnitors

agreed, in part, that not posting collateral will cause Frankenmuth irreparable harm. Namely, the

Indemnitors agreed as follows:

       …The Indemnitors acknowledge and agree that their failure to im-mediately [sic]
       deposit with Surety any sums demanded under this section shall cause irreparable
       harm to Surety for which it has no adequate remedy at law. Indemnitors agree and
       shall stipulate in any legal proceeding that Surety is entitled to injunctive relief for
       specific performance of said col-lateral [sic] deposit obligation and do hereby
       expressly waive and relinquish any claims or defenses to the contrary. Indemnitors
       further agree that any order enforcing this provision of this Agreement shall operate
       as a judgment, lien and encumbrance on any property owned by the Indemnitors.

See Exhibit 1 at pp. 3, Collateral Security.

       61.     Frankenmuth has requested collateral from the Indemnitors.

       62.     As of the date of filing this Complaint, the Indemnitors have failed to post collateral

with Frankenmuth.

                                     PRAYER FOR RELIEF

       WHEREFORE, Frankenmuth Mutual Insurance Company prays this Honorable Court:


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        (a)   Issue a Preliminary Injunction ordering the Defendants to place with
              Frankenmuth the initial amount of $905,450.00 of funds by money, property,
              or liens or security interests in property, and any additional amount as
              determined by Frankenmuth as security for its obligations under the Bonds;

        (b)   Enjoin and restrain Defendants from selling, transferring, or disposing or
              liening their assets and property, and further enjoining and restraining
              Defendants from allowing their assets and property to be liened, unless and until
              Frankenmuth shall receive the funds requested in paragraph (a) above;

        (c)   Grant a lien upon all assets and property, including realty, personalty owned by
              Defendants, and property in which the Defendants have an interest. Such lien
              shall secure Frankenmuth against any loss that it may sustain under the Bonds.
              Such lien shall remain in effect unless and until Frankenmuth shall receive the
              funds requested in paragraph (a) above;

        (d)   Require the Defendants to indemnify and exonerate Frankenmuth from all
              liabilities, losses, and expenses incurred by Frankenmuth as a result of
              Frankenmuth having executed the Bonds;

        (e)   Require the Defendants provide Frankenmuth access to the Indemnitors’ books
              and records for inspection and copying pursuant to the terms of the Indemnity
              Agreement; and

        (f)   Grant such additional relief as this Court deems appropriate.

    Dated: September 9, 2022
                                        BRENDE & MEADORS LLP

                                        BY /s/ Robert L. Meadors                   .




                                            Robert L. Meadors
                                        2900 S. Phillips Ave. Ste. 100
                                        PO Box 1024
                                        Sioux Falls, SD 57101-1024
                                        605/333-0070
                                        605/333-0121 (fax)
                                        rlm@bsmllp.com
                                          Attorneys for Plaintiff




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                Case 5:22-cv-05079-RAL Document 1 Filed 09/09/22 Page 17 of 17 PageID #: 17

IS 44 (Rev 04/2.)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk of Court for the
                                                     (SEEINSTRUCTIONS ON NEXTPAGE OF THIS FORM.)
1. (a) PLAINTIFFS                                                                                               DEFENDANTS
                                                                                                                Firefly Builders, Inc., Wayne Koistinen, Roseanne Koistenin,
         Frankenmuth Mutual Insurance Company
                                                                                                                and Larry Koistenen
  (b) County of Residence of First Listed Plaintiff SagInaW                                                     County of Residence of First Listed Defendant               Meade
                                 (EXCEPTIN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:       IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys(Fimi Name. Address, and Telephone Number)                                                        Attorneys (IfKnown)

            Robert L. Meadors, Brende & Meadors LLP, PC Box
          1024 Sioux Falls, SD 57101;(605)333-0070
II. BASIS OF JURISDICTION (Place an "X"in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                      and One Box for Defendant)
1 1 1 U.S. Government                 [□ 3 Federal Question                                                                              PTE     DEF                                                PTF    DEF
         Plaintiff                                (U.S. Government Not a Party)                        Citizen of This State             [□ 1   [□ ^ Incorporated or Principal Place                0 4    f<]4
                                                                                                                                                             of Business In This State


1 12 U.S. Govemment                      4 Diversity                                                   Citizen of Another State          [□2    LH ^ Incorporated and Principal Place               @5     I 15
         Defendant                                (Indicate Citizenship ofParties in Item III)                                                               of Business In Another State


                                                                                                       Citizen or Subject of a           [3^    LU ^ Foreign Nation                                 CH ^   1 |6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (P/ace an "X" in One Box Only)                                                                                          Click here for: Nature of Suit (


   110 Insurance                        PERSONAL INJURY                   PERSONAL INJURY              ^ 625 Drug Related Seizure               422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                       ^310 Airplane                     I I 365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tarn (31 USC
   130 MUlerAct                     ^315 Airplane Product                      Product Liability       □ 690 Other                                   28 USC 157                          3729(a))
   140 Negotiable Instrument                 Liability                □ 367 Health Care/                                                                                          400 State Reapportionment
   150 Recovery of Overpayment ^        320 Assault, Libel &                  Pharmaceutical                                                                                      410 Antitrust
       & Enforcement of Judgment                                              Personal Injury                                                                                     430 Banks and Banking
0151 Medicare Act                            Slander
                                       I 330 Federal Employers'               Product Liability
                                                                                                                                                820 Copyrights
                                                                                                                                                830 Patent                        450 Commerce
   152 Recovery of Defaulted                 Liability                I I 368 Asbestos Personal                                                 835 Patent - Abbreviated          460 Deportation
       Student Loans                   1 340 Marine                            Injury Product                                                        New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)             I 345 Marine Product                    Liability                                                        840 Trademark                            Corrupt Organizations
I 1153 Recovery of Overpayment               Liability                  PERSONAL PROPERTY                                                                                         480 Consumer Credit
       of Veteran's Benefits
   160 Stockholders' Suits
                                    3350 Motor Vehicle
                                        355 Motor Vehicle
                                                                          370 Other Fraud
                                                                          371 Tmth in Lending
                                                                                                          710 Fair Labor Standards
                                                                                                               Act
                                                                                                                                                880 Defend Trade Secrets
                                                                                                                                                    Act of 2016                       (15 USC 1681 or 1692)
                                                                                                                                                                                  485 Telephone Consumer
   190 Other Contract                       Product Liability             380 Other Personal             1720 Labor/Management                                                           Protection Act
   195 Contract Product Liability      I 360 Other Personal                   Property Damage                  Relations                        861 HIA(1395ff)                   490 Cable/Sat TV
   196 Franchise                            Injury                    Q 385 Property Damage            □ 740 Railway Labor Act                  862 Black Lung (923)              850 Securities/Commodities/
                                       I 362 Personal Injury -                Product Liability          1751 Family and Medical                863 DIWC/DIWW (405(g))                   Exchange
                                            Medical Malpractice                                                Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
                                                                                                          790 Other Labor Litigation            865 RSI (405(g))                  891 Agricultural Acts
   210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:               □ 791 Employee Retirement                                                  893 Envirotunental Matters
   220 Foreclosure                      441 Voting                       I 463 Alien Detainee                 Income Security Act                                                 895 Freedom of Information
   230 Rent Lease & Ejectment           442 Employment                ^510 Motions to Vacate                                                    870 Taxes (U.S. Plaintiff                Act
   240 Torts to Land                    443 Housing/                          Sentence                                                               or Defendant)                896 Arbitration
   245 Tort Product Liability               Accommodations            ^ 530 General                                                             871 IRS—Third Party               899 Administrative Procedure
   290 All Other Real Property         I 445 Amer. w/Disabilities • ^ 535 Death Penalty                                                              26 USC 7609                      Act/Review or Appeal of
                                            Employment                    Other:                        1462 Naturalization Application                                               Agency Decision
                                       I 446 Amer. w/Disabilities         540 Mandamus & Other          ]465 Other Immigration                                                    950 Constitutionality of
                                            Other                         550 Civil Rights                    Actions                                                                    State Statutes
                                       I 448 Education                    555 Prison Condition
                                                                          560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an "X" in One Box Only)
1^1 Original            |^2 Removed firom                   □         Remanded from               f~\4 Reinstated or       |~~| 5 Transferred from       [~] 6 Multidistrict                   8 Multidistrict
       P roceeding               S tate Court                         Appellate Court                  Reopened                   Another District                Litigation -                   Litigation -
                                                                                                                        (specify)                       Transfer                                 Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictionalstatutes unless diversity):
                                          28 U.S.C Section 1332 and 28 U.S.C. 1391 Section b)(2)
VI. CAUSE OF ACTION
                                          Brief description of cause:
                                          breach of contract

Vn. REQUESTED IN                          □ CHECK IF THIS IS A CLASS ACTION                               DEMAND $                                     CHECK YES only if demanded in complaint:
        COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                 905450.00                                    JURY DEMAND:         □ Yes S No
VIII. RELATED CASE(S)
                                                (See instructions):
        IF ANY                                                         JUDGE                                                                    DOCKET NUMBER

DATE                                                                            fATURE OF ATTORNEY OF RECORD

 9/9/2022

FOR OFFICE USE ONLY

   RECEIPT #                      AMOUNT                                       APPLYING IFP                                      JUDGE                             MAG. JUDGE
